           Case 2:23-cv-10169-SPG-ADS Document 23-4 Filed 02/21/24 Page 1 of 3 Page ID #:281


            1 Bruce A. Lindsay, Esq., SBN 102794
              bal@jones-mayer.com
            2 Momca Choi Arredondo, Esq., SBN 215847
              mca@iones-mayer.com
            3 JONE'S MAYER
              3777 North Harbor Boulevard
            4 Fullerton, CA 92835
              Telephone: (714) 446-1400
            5 Facsimile: (714) 446-1448
            6 Attome_y~ _fur Defendants,
              LA VERNE POLICE DEPARTMENT, LA VERNE
            7 CHIEF OF POLICE COLLEEN FLORES
            8                         UNITED STATES DISTRICT COURT
            9                       CENTRAL DISTRICT OF CALIFORNIA
           10
           11 CALIFORNIA RIFLE & PISTOL                       Case No. 2:23-cv-10169-SPG-ADS
              ASSOCIATION, INCORPORATED; THE
           12 SECOND AMENDMENT FOUNDATION;                    Honorable Sherilyn Peace Garnett
              GUN OWNERS OF AMERICA, INC.;                    Magistrate Judge Autumn D. Spaeth
           13 GUN OWNERS FOUNDATION; GUN
              OWNERS OF CALIFORNIA INC.; ERICK                DECLARATION OF LT. CHRIS
           14 VELASQUEZ, an individual; CHARLES               DRANSFELDT IN SUPPORT OF
              MESSEL1 an individual; BRIAN WEIMER,            DEFENDANTS CITY OF LA
           15 an indiviaual; CLARENCE RIGALI., an             VERNE AND LA VERNE CHIEF
              individual; KEITH REEVES, an individual;        OF POLICE COLLEEN FLORES'
           16 CYNTHIA GABALDON, an individual; and            OPPOSITION TO PLAINTIFFS'
              STEPHEN HOOVER, an individual,                  MOTION FOR PRELIMINARY
           17                                                 INJUNCTION
                           Plaintiffs,
           18                                                 Hearing
                      V.                                      Date:          March 13, 2024
           19                                                 Time:          1:30 p.m.
              LOS ANGELES COUNTY SHERIFF'S                    Courtroom:     5C
           20 DEPARTMENT· SHERIFF ROBERT
              LUNA in his official capacity; LA VERNE
           21 POLICE DEPARTMENT; LA VERNE
              CHIEF OF POLICE COLLEEN FLORES,
           22 in her official capacity; ROBERT BONTE
              in his official c~acity as Attome_)' General
           23 of the State of California; and DOES 1-10,
           24               Defendants.
           25
           26
           27
           28

    [ill        DECLARATION OF LT. CHRIS DRANSFELDT ISO CITY OF LA VERNE AND LA VERNE CHIEF OF POLICE
JO NES MAYER        COLLEEN FLORES' OPPOSITION TO PLAINTIFFS' MOTION FOR PRELIMINARY INJUNCTION
-   LAW-
           Case 2:23-cv-10169-SPG-ADS Document 23-4 Filed 02/21/24 Page 2 of 3 Page ID #:282


            1                    DECLARATION OF LT. CHRIS DRANSFELDT
            2         I, Lt. Chris Dransfeldt, declare as follows,
            3         1.     I am an adult and I am employed by the City of La Verne as a Lieutenant
            4 in the La Verne Police Department ("LVPD"). I make this declaration in support of
            5 Defendants City of La Verne ("City") and La Verne Chief of Police Colleen Flores'
            6 Opposition to Plaintiffs' Motion for Preliminary Injunction based on my own personal
            7 knowledge, except where I indicate that such knowledge is based on information and
            8 belief. If called upon to testify, I could and would truthfully testify to the following
            9 based on my personal knowledge.
           10         2.     As part of my official duties, I was requested by Acting Chief Sam
           11   Gonzalez to oversee research of the concealed carry weapon ("CCW") permit
           12 application fees of the city police departments in Los Angeles County, including the
           13   Sheriffs application fees.
           14         3.     The City has a Cadet program for part-time employees to introduce them
           15 to law enforcement and for them to provide assistance to various divisions of the LVPD.
           16         4.     To conduct research of the CCW application fees of the other police
           17 agencies in Los Angeles County, I asked two of the City's Cadets, Charles Sorbel and
           18 Elizabeth Canu, to assist with the project. I oversaw their work which required that they
           19 access the websites of the city police departments of the County, as well as the LA
           20 Sheriffs Office, to look for information regarding the CCW permit application
           21   program/process of the department and the listed fees for the CCW applications. If the
           22 application fees were listed on the website, Charles and Elizabeth were to list the city
           23   and the total fee set forth on the city's website truthfully on a document that I directed
           24 them to title "LA County CCW Fee Matrix," a true and correct copy of which is attached
           25 to my declaration as Exhibit 1.
           26         5.     Not all of the cities set forth their CCW permit application fees on their
           27 websites. Because of this, I instructed Charles and Elizabeth to make phone calls to the
           28 police departments that did not post their CCW application fees on their website. They
                                                           - 1-
    [ill         DECLARATION OF LT. CHRIS DRANSFELDT ISO CITY OF LA VERNE AND LA VERNE CHIEF OF POLICE
JONES MAYER          COLLEEN FLORES' OPPOSITION TO PLAINTIFFS' MOTION FOR PRELIMINARY INJUNCTION
-   LAW-
           Case 2:23-cv-10169-SPG-ADS Document 23-4 Filed 02/21/24 Page 3 of 3 Page ID #:283


            1 were to ask to speak with the department's personnel that was knowledgeable about
            2 their CCW permit application fees to learn the amount of the application fees which that
            3 police department was charging for CCW permit applications. When they were given
            4 the requested information by the department's personnel, they were told to and did add
            5 those cities and their total CCW application fee amounts to the LA County CCW Fee
            6 Matrix that they were preparing.
            7        6.     They gathered CCW application fees information from all of the police
            8 departments that are listed on the LA County CCW Fee Matrix which is attached as
            9 Exhibit 1. They finished preparing the CCW Fee Matrix and provided it to me as of
           10 March 27, 2023.
           11        7.     I confirmed with both Charles and Elizabeth that the information on the
           12 LA County CCW Fee Matrix accurately reflects the CCW fee information that they
           13 each obtained either from a city's website or by making personal calls to the city's
           14 police department to gather the fee information.
           15        8.     I provided a copy of the LA County CCW Fee Matrix to Acting Chief
           16 Gonzalez to complete my assignment upon my receipt of the Matrix from Charles and
           17 Elizabeth.
           18        I declare under the penalty of perjury, under the laws of the United States of
           19 America, that the foregoing is true and correct, as executed this 21st day of February
           20 2024, at La Verne, California.
           21
           22
                                                                         t
           23
           24
           25
           26
           27
           28
                                                        -2-
    [ill        DECLARATION OF LT. CHRIS DRANSFELDT ISO CITY OF LA VERNE AND LA VERNE CHIEF OF POLICE
JONES MAYER         COLLEEN FLORES' OPPOSITION TO PLAINTIFFS' MOTION FOR PRELIMINARY INJUNCTION
-   LAW-
